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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

 SUSAN PHILLIPS and JEFFREY                        )
 PHILLIPS, administrators of the estate of         )
 MATTHEW PHILLIPS, deceased,                       )
                                                   )
                                Plaintiffs,        )    No. 22 C 1048
                                                   )
                        v.                         )    Judge Wood
                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   )
                                Defendant.         )

                                   JOINT STATUS REPORT

        Pursuant to the court’s January 24, 2023 minute entry (Dkt. 25), the parties jointly submit

the following status report:

  I.    Status of United States v. Simonson et al., 21 CR 50064 (N.D. Ill.)

        Separate status hearings were held on the progress of discovery for defendants Kristopher

Martin and Brandon Simonson on April 3, 2023, and April 6, 2023, respectively. Both defendants

reported needing additional time to review discovery. The court set a status hearing to discuss

Martin’s case, his discovery review progress, and any discussions regarding plea negotiations on

May 4, 2023. For Simonson, the court ordered the parties to submit a written status report

containing an update on his discovery progress by May 4, 2023. A trial date has not been set for

either defendant.

 II.    Modification or Lift of the Stay

        At this time, neither party desires a modification or lift of the stay imposed by the court on

January 24, 2023. Dkt. 25.
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III.    Status Hearing

        Finally, the parties do not require a status hearing at this time.

Respectfully submitted,

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